                                                       Case
                                                       Case3:07-cv-05944-SC
                                                            3:07-cv-05944-JST Document2334-2
                                                                               Document 2382 Filed
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                                                                              UNITED STATES DISTRICT COURT
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                                                                             NORTHERN DISTRICT OF CALIFORNIA
                                                3                               (SAN FRANCISCO DIVISION)
                                                4
                                                5    IN RE: CATHODE RAY TUBE (CRT)                       Case No. 07-5944 SC
                                                     ANTITRUST LITIGATION                                  MDL No. 1917
                                                6
                                                7
                                                    This Document Relates to
                                                8
                                                    Case No. 13-cv-1173-SC (N.D. Cal.)
                                                9
                                                    SHARP ELECTRONICS CORPORATION;
                                               10
                                                    SHARP ELECTRONICS MANUFACTURING
                                                                                                 [PROPOSED] ORDER GRANTING
                                               11   COMPANY OF AMERICA, INC.,
                                                                                                 THE TOSHIBA DEFENDANTS’
                                               12                                                ADMINISTRATIVE MOTION TO
                   701 Thirteenth Street, NW




                                                                        Plaintiffs,
                    Washington, DC 20005
White & Case LLP




                                                                                                 FILE DOCUMENTS UNDER SEAL
                                               13
                                                                                                 PURSUANT TO CIVIL LOCAL
                                                         v.
                                               14                                                RULES 7-11 AND 79-5(d)
                                               15   HITACHI, LTD., et al.,
                                               16
                                                                        Defendants.
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                                                       [PROPOSED] ORDER GRANTING THE TOSHIBA DEFENDANTS’ ADMINISTRATIVE MOTION
                                                        TO FILE DOCUMENTS UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5(d)
                                                                                    Case No. 07-5944 SC
                                                                                      MDL No. 1917
                                                        Case
                                                        Case3:07-cv-05944-SC
                                                             3:07-cv-05944-JST Document2334-2
                                                                                Document 2382 Filed
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                                                1          Upon consideration of the Toshiba Defendants’ Administrative Motion to File
                                                2   Documents Under Seal Pursuant to Civil Local Rules 7-11 and 79-5(d), submitted in
                                                3   connection with the Toshiba Defendants’ Supplement Reply in Support of Their Amended
                                                4   Motion to Dismiss Sharp’s Complaint, it is hereby:
                                                5        ORDERED that the Administrative Motion is hereby GRANTED; and it is further
                                                6        ORDERED that the Clerk shall file and maintain under seal the portions of the Toshiba
                                                7   Defendants’ Supplemental Reply that contain quotations from, or discussion of, discovery
                                                8   responses that the parties have designated as “Confidential”; and the Clerk shall maintain
                                                9   under seal Exhibit 1 to the Supplemental Reply which consists wholly of material designated
                                               10   as “Confidential” by the parties.
                                               11
                                               12     IT IS SO ORDERED.
                   701 Thirteenth Street, NW
                    Washington, DC 20005
White & Case LLP




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                                               14             2/12/2014
                                                      Dated: _____________________              ______________________________
                                               15                                               HONORABLE SAMUEL CONTI
                                                                                                UNITED STATES DISTRICT JUDGE
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                                                       [PROPOSED] ORDER GRANTING THE TOSHIBA DEFENDANTS’ ADMINISTRATIVE MOTION
                                                        TO FILE DOCUMENTS UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5(d)
                                                                                    Case No. 07-5944 SC
                                                                                      MDL No. 1917
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